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                           UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION


 TAYVIN GALANAKIS,                                    No. 4:23-cv-00044-SHL-SBJ
      Plaintiff,

 v.

 CITY OF NEWTON, IOWA, ROB                          REPLY BRIEF IN SUPPORT OF
 BURDESS, NATHAN WINTERS,                           DEFENDANTS’ MOTION FOR
 CHRISTOPHER WING, individually and in              SUMMARY JUDGMENT
 their official capacities with the Newton Police
 Department,
         Defendants.


 NATHAN WINTERS and CHRISTOPHER
 WING,
       Defendants/Counterclaim Plaintiffs,

 v.

 TAYVIN GALANAKIS,
      Plaintiff/Counterclaim Defendant.             Removed from the District Court for
                                                    Jasper County, Iowa, No. LACV123038

       Under Local Rule 7.g., Defendants City of Newton, Iowa, Chief Rob Burdess, Lieutenant

Christopher Wing, and Officer Nathan Winters (collectively, “Defendants”) submit this Reply

Brief to respond to the new and unanticipated arguments raised in Plaintiff Tayvin Galanakis’s

(“Galanakis”) Brief Resisting Defendants’ Motion for Summary Judgment, Doc. 58.

       Galanakis’s Brief just underscores the propriety of summary judgment on all his claims.

       First, recognizing summary judgment is appropriate on his claims based on an arrest

without probable cause, Galanakis’s Brief added new claims asserting the unlawful extension of

an otherwise lawful traffic stop without reasonable suspicion. This is improper, and the Court

should disregard Galanakis’s new claims asserting a stop without reasonable suspicion. Although




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“the pleading requirements under the Federal Rules are relatively permissive, they do not entitle

parties to manufacture claims, which were not pled, late into the litigation for the purpose of

avoiding summary judgment.” N. States Power Co. v. Fed. Transit Admin., 358 F.3d 1050, 1057

(8th Cir. 2004); Maintenance Ents., LLC v. Orascom E&C USA, Inc., No. 3:16-CV-00014-SMR-

CFB, 2018 WL 11416668, at *4 (S.D. Iowa Aug. 13, 2018). Claims for an arrest without probable

cause are distinct from claims for a stop without reasonable suspicion. See Alabama v. White, 496

U.S. 325, 330 (1990); State v. Kooima, 833 N.W. 2d 202, 206 (Iowa 2013). Here, Galanakis’s

complaint pled several legal claims all based on an alleged violation of his “Right to be Free from

Arrest without Probable Cause.” See Doc. 1-1, at 10–17. None of his claims were based on an

alleged violation of his right to be free from a stop without reasonable suspicion. See id. So

Galanakis’s attempt to raise new claims based on a stop without probable cause for the first time

in his Brief to avoid summary judgment is plainly improper, and the Court should disregard them.

See N. States Power Co., 358 F.3d at 1057.

       Second, even if Galanakis somehow pled claims asserting an unlawful extension of an

otherwise lawful stop without reasonable suspicion—he didn’t—the material undisputed facts do

not sufficiently support these claims. Law enforcement may extend a lawful stop beyond the time

necessary to complete the stop’s initial mission “if they develop reasonable suspicion of criminal

activity.” United States v. Allen, 43 F.4th 901, 907 (8th Cir. 2022). To have reasonable suspicion,

an officer “must be able to point to specific and articulable facts which, taken together with rational

inferences from those facts, reasonably warrant further investigation.” Id. at 907–908. Officer

Winters reasonably suspected Galanakis of OWI based on the following material undisputed facts:

(1) Galanakis committed a traffic violation under Iowa Code section 321.415, (2) he could not

determine which vehicle registration document was expired or current, (3) Galanakis had to ask




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for Officer Winters’s help to identify his proof of automobile insurance, (4) Galanakis produced

an expired proof of automobile insurance, (5) Galanakis took 3 minutes to produce valid

registration and proof of insurance, (6) Galanakis had watery and bloodshot eyes, (7) three air

fresheners were hanging from his rear-view mirror, and (8) Galanakis was chewing gum. Doc.

40-2, SOF Nos. 5–13. Taken together, these circumstances gave Officer Winters reasonable

suspicion that Galanakis may be operating his vehicle while intoxicated.

       Third, Galanakis’s Brief made no attempt to demonstrate a violation of a clearly

established Fourth Amendment right, making federal qualified immunity on the Fourth

Amendment claims against the Defendants in their individual capacities appropriate. Identifying

a clearly established right requires identifying “controlling authority” or “a robust consensus of

cases of persuasive authority” that articulate “the legal principle [that] clearly prohibit[s] the

officer’s conduct in the particular circumstances before him.” Ashcroft v. al-Kidd, 563 U.S. 731,

741 (2011); District of Columbia v. Wesby, 583 U.S. 48, 63–64 (2018). Galanakis made no attempt

to do this.   Instead, he summarily stated general legal principles that lack any degree of

particularity, like that it is clearly established that an arrest without probable cause and a stop

without reasonable suspicion are unconstitutional, which is not at all helpful. Doc. 58 at 8; see

Ashcroft, 563 U.S. at 742 (“The general proposition, for example, that an unreasonable search or

seizure violates the Fourth Amendment is of little help in determining whether the violative nature

of particular conduct is clearly established.”). And when Galanakis actually stated a more

particularized principle, like that “minor difficulty in providing documents” is not reasonable

suspicion of intoxication, he failed to provide any controlling or persuasive authority to support it.

See Doc. 58 at 9; see Ashcroft, 563 U.S. at 741 (requiring “controlling authority” or “a robust

consensus of cases of persuasive authority”); Martin v. Turner, 73 F.4th 1007, 1010 (8th Cir. 2023)




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(“This generally requires a plaintiff to point to existing circuit precedent that involves sufficiently

similar facts to squarely govern the officer’s conduct in the specific circumstances at issue.”)

(internal quotation omitted). Galanakis therefore failed to demonstrate a violation of a clearly

established Fourth Amendment right.

       Fourth, setting aside that damages claims under article I, section 8 of the Iowa Constitution

no longer exist, Galanakis made no attempt to demonstrate a violation of a clearly established

article I, section 8 right. See Doc. 58 at 31. Nor did he attempt to demonstrate a violation of his

common law right against false arrest. See id. This makes state qualified immunity under Iowa

Code section 670.4A plainly appropriate on these claims. See id. Qualified immunity under

section 670.4A “tracks the qualified immunity doctrine as it exists under federal law.” Dunn v.

Doe 1–22, 4:21-cv-00053-SHL-HCA, 2023 WL 3081611, at *16 (S.D. Iowa April 24, 2023)

(internal quotation omitted). And qualified immunity under section 670.4A applies to Galanakis’s

claims article I, section 8 and false arrest claims. Iowa Code § 670.1(4). Again, rather than provide

authority that even arguably shows a violation of a clearly established right, Galanakis simply

stated highly general legal principles that are unhelpful to the qualified immunity analysis. See

Doc. 58 at 31; Ashcroft, 563 U.S. at 742. He stated that “[f]reedom from false arrest is clearly

established common law” and that “[a]bsent reasonable suspicion or probable cause, Tayvin’s

detention violated his clearly established right against false arrest.” Doc. 58 at 31. Galanakis

cannot avoid summary judgment based on qualified immunity by stating such general legal

principles. See Ashcroft, 563 U.S. at 742.

       Fifth, in the same way that Galanakis’s Brief added a new claim for the unlawful extension

of an otherwise lawful stop without reasonable suspicion to avoid summary judgment, his Brief

also adds a new Monell claim to avoid summary judgment. The Court should disregard this new




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Monell claim, but even it doesn’t, the claim lacks sufficient evidentiary support. See N. States

Power Co., 358 F.3d at 1057. Looking at the complaint, Galanakis clearly pled a Monell claim

based on alleged actions taken by Chief Burdess in his policymaking capacity, not Lieutenant

Wing. See Doc. 1-1 at 11–14. Now, in an improper attempt to avoid summary judgment,

Galanakis adds a new Monell claim based on alleged actions taken by Lieutenant Wing. Doc. 54-

1 at 15. The Court should disregard this newly added Monell claim.

       But even if the Court does not ignore Galanakis’s new Monell claim, Galanakis lacks

sufficient evidence to support this claim. There is insufficient evidence that Lieutenant Wing acted

with final policymaking authority at all, let alone “in the area in which the challenged conduct

occurred.” See Thompson v. Shock, 852 F.3d 786, 793 (8th Cir. 2017); see also Doc. 58 at 15

(stating “Lt. Wing is a policymaker”). Two things determine whether a particular official serves

as the final policymaker in a certain area: state and local positive law or state and local customs

having the force of law. Id. Galanakis cited no positive law nor any evidence establishing a

custom. Doc. 58 at 14–16. He only summarily stated that Lieutenant Wing is a policymaker in

the abstract, without establishing whether Lieutenant Wing ever acted as the final policymaker in

the area in which his challenged conduct occurred. Doc. 53-2 ¶ 27. Further, a government official,

like Lieutenant Wing, does not act in a policymaking capacity simply because they have

discretionary or supervisory authority in a particular situation. See Thompson, 852 F.3d at 793.

Here, there is no evidence that Lieutenant Wing was the final policymaker in a particular area, or

that he ever acted in that capacity. Finally, there is insufficient evidence that Lieutenant Wing was

deliberately indifferent in supervising Officer Winters, especially in light of the testimony from

Galanakis’s own witness that Officer Winters properly administered Galanakis’s field sobriety

tests. Doc. 40-2 ¶¶ 56–57.




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       Dated: January 17, 2023.

                                          By:    /s/ Nicholas F. Miller
                                                 Matthew S. Brick, AT0001081
                                                 Erin M. Clanton, AT0002592
                                                 Douglas A. Fulton, AT0002672
                                                 Nicholas F. Miller, AT0015361
                                                 BRICK GENTRY, P.C.
                                                 6701 Westown Parkway, Suite 100
                                                 West Des Moines, IA 50266
                                                 T: (515) 274-1450
                                                 F: (515) 274-1488
                                                 matt.brick@brickgentrylaw.com
                                                 erin.clanton@brickgentrylaw.com
                                                 doug.fulton@brickgentrylaw.com
                                                 nick.miller@brickgentrylaw.com

                                                 Counsel for Defendants CITY OF
                                                 NEWTON, IOWA, ROB BURDESS,
                                                 CHRISTOPHER WING, and NATHAN
                                                 WINTERS

                              CERTIFICATE OF SERVICE

        I hereby certify that on January 17, 2023, a true copy of Defendants’ REPLY BRIEF IN
SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT was electronically
filed using the Court’s CM/ECF system, which sent notice to counsel of record, as follows:

                     Matthew M. Boles
                     Adam C. Witosky
                     GRIBBLE, BOLES, STEWART &
                     WITOSKY LAW
                     2015 Grand Avenue, Suite 200
                     Des Moines, Iowa 50312
                     mboles@gbswlaw.com
                     awitosky@gbswlaw.com
                     Counsel for Plaintiff/Counterclaim Defendant


                                                 /s/    Nicholas F. Miller
                                                        Nicholas F. Miller, AT0015361




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